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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

FLETCHER KIZZAR, JR.,

                       Plaintiff,
                                                              Case No. 8:17-cv-02082-CEH-AEP
vs.

MONTEREY FINANCIAL
SERVICES, LLC.,

                  Defendant.
____________________________________________/

       NOTICE OF PLAINTIFF’S VOLUNTARY DISMISSAL WITH PREJUDICE

       COMES NOW, the Plaintiff, and provides notice of his dismissal of all claims in the above-

captioned case with prejudice. Each Party will bear its own fees and costs.

       Submitted October 15, 2018, by:


                                                                /s/Thomas M. Bonan
                                                                Thomas M. Bonan
                                                                Florida Bar Number: 118103
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                                                                Counsel for Plaintiff

                                    CERTIFICATE OF SERVICE

        I hereby certify that on October 15, 2018, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF. This document has been served on the Defendant counsel via a
CM/ECF e-service system notice or email.

                                                              /s/Thomas M. Bonan
                                                              Thomas M. Bonan
                                                              Florida Bar Number: 118103
